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6

7
                                   UNITED STATES DISTRICT COURT
8

9                                  EASTERN DISTRICT OF CALIFORNIA

10

11        UNITED STATES OF AMERICA               )    CASE NO. CRS-07-432 EJG
                                                 )
12                                               )
                      Plaintiff,                      STIPULATION AND ORDER TO
13                                               )    CONTINUE SENTENCING
                v.                               )
14                                               )    Date: 12/16/11
          JOSEPH SALVATORE GALLO,                )    Time: 10:00 a.m.
15
                                                 )
                      Defendant.                 )    Courtroom: The Hon. Edward J. Garcia
16
          ________________________________       )
17        ___
18            With the Court’s permission, Defendant Joseph Salvatore Gallo, by and through his
19   counsel, William J. Portanova, and Plaintiff United States of America, by and through its
20   counsel, Assistant United States Attorney Michael Anderson, hereby stipulate and agree that
21   Mr. Gallo’s sentencing hearing, presently calendared for December 16, 2011 at 10:00 a.m., may
22   be continued to January 27, 2012 at 10:00 a.m.
23   \\
24   \\
25   \\
26   \\
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          Case 2:07-cr-00432-WBS Document 179 Filed 12/16/11 Page 2 of 2




1    \\
2           This continuance is necessary due to the unavailability of counsel, William J. Portanova,
3    who must attend federal grand jury proceedings in Washington, D.C. on the afternoon of
4    December 15, 2011. While counsel plans to return to Sacramento that same day, counsel is not
5    willing to bet on the reliability of air travel to ensure his appearance the following morning in
6    this courtroom.
7

8    IT IS SO STIPULATED.
9
                                                   /s/ William J. Portanova
10
     DATED: December 14, 2011                      _______________________________________
11                                                 WILLIAM J. PORTANOVA
                                                   Attorney for Defendant Joseph S. Gallo
12

13   DATED: December 14, 2011                      /s/ Michael Anderson
                                                   _______________________________________
14
                                                   MICHAEL ANDERSON
15                                                 Assistant United States Attorney

16
     IT IS SO ORDERED.
17
     DATED: December 15, 2011                      /s/ Edward J. Garcia
18
                                                   THE HONORABLE EDWARD J. GARCIA
19                                                 Senior United States District Judge

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